Case 2:03-CV-02876-SHI\/|-tmp Document 28 Filed 06/15/05 Page 1 of 2 Page|D 50

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IN THE UNITED sTATEs DISTRICT cOURT

FOR THE wEsTERN DISTRICT oF TENNESSEE 05 JUH 15 PHIZ: 22
wESTERN DIVISION

 

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GLE§%'§§,_ \»L.,i'“r m~,
PAMELA ANN DOTSON, W-D- Gf' `I'F'»i, f»'?-§r`»'i¢"'sfs

Plaintiff,

VS. NO. 03-2876-1\/1&1}?

AT&T WIRELESS, ET AL. ,

Defendants.

 

ORDER GRANTING MOTION FOR EXTENSION OF DISCOVERY DEADLINE

 

Before the court is plaintiff's June 13, 2005, unopposed

motion requesting an extension of the discovery deadline in this

matter. For good cause shown, the motion is granted. The

deadline for completing discovery in this matter is extended to

July l, 2005.

/§}A

lt is so ORDERED this day of June, 2005.

J///’Vz/z..__

 

SAMUEL H. MAYS, JR.

UNITED STATES DISTRICT JUDGE

This document entered on the docket sheet in commisan

with Hu|e 58 and/or 79(3) FRCP on ' 516

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

